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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-3389-GW-MARx                                                 Date    July 5, 2023
 Title             Iola Favell et al v. University of Southern California, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                         None Present                                               None Present
 PROCEEDINGS:                IN CHAMBERS - TENTATIVE RULING ON PLAINTIFFS' MOTION
                             TO REMAND TO STATE COURT [30]; and DEFENDANT
                             UNIVERSITY OF SOUTHERN CALIFORNIA'S MOTION TO STAY
                             [31]


Attached hereto is the Court’s Tentative Ruling on the above-entitled Motions [30, 31], set for hearing
on July 6, 2023 at 8:30 a.m.




                                                                                                      :
                                                                 Initials of Preparer    JG
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 Iola Favell et al v. University of Southern California et al; Case No. 2:23-cv-03389-GW-(MARx)
 Tentative Ruling on: (1) Motion to Remand and (2) Defendant USC’s Motion to Stay


          On December 20, 2022, Plaintiffs Iola Favell, Sue Zarnowski, and Mariah Cummings
 (“Plaintiffs”) filed a putative class action against Defendants University of Southern California
 (“USC”) and 2U, Inc. (“2U”) (together, “Defendants”) in a related case in the Superior Court of
 the State of California, County of Los Angeles. See Iola Favell et al v. University of Southern
 California et al (“Favell I”), Case No. 2:23-cv-00846-GW-MAR (C.D. Cal.), ECF No. 1-1.1
 Plaintiffs in Favell I allege that Defendants artificially inflated their U.S. News & World Report
 (“US News”) rankings by submitting incomplete data to US News. See id.2 Their initial complaint
 asserted four causes of action for: (1) violation of California’s False Advertising Law (“FAL”),
 Cal. Bus. & Prof. Code § 17500 et seq.; (2) violation of California’s Unfair Competition Law
 (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.; (3) violation of the Consumer Legal Remedies
 Act (“CLRA”), Cal. Bus. & Prof. Code § 17500 et seq.; and (4) unjust enrichment. See id.
          On February 3, 2023, 2U removed that case to federal court pursuant to the Class Action
 Fairness Act. See Favell I, ECF No. 1. 2U and USC each moved to dismiss, arguing, in part, that
 Plaintiffs’ claims for equitable relief could not be heard in federal court. See Favell I, ECF Nos.
 28, 30. Before those motions were decided, Plaintiffs filed a First Amended Complaint (“FAC”)
 on March 29, 2023. See Favell I, ECF No. 32. The FAC drops Plaintiffs’ equitable claims and
 instead asserts a single cause of action for damages under the CLRA. Plaintiffs filed this action
 (“Favell II”) in state court on the same day. See Complaint, ECF No. 1-1. The factual allegations
 in this case are the same as in Favell I, but Plaintiffs bring three equitable causes of action.
 Defendants again removed. See Notice of Removal, ECF No. 1.
          Now before the Court is Plaintiffs’ Motion to Remand to State Court (“MTR”), ECF No.
 30. USC and 2U each filed oppositions, ECF No. 37 (“USC Opp.”); ECF No. 38 (“2U Opp.”),
 and Plaintiff filed a reply, ECF No. 42 (“MTR Reply”).


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       2U is described in the Favell I complaint as a “for-profit, publicly-traded corporation” which “offers technology
 platforms for the provision of online programs and uses the name and branding of schools like USC, which can charge
 students top dollar. USC hired 2U not only to provide technical support, but to run the advertising and recruiting for
 those online programs.” See Favell I Complaint ¶ 2.
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      Plaintiffs’ factual allegations are discussed in greater detail in the Court’s tentative ruling on Defendants’
 motions to dismiss the FAC in Favell I.

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        Also before the Court is USC’s Motion to Stay, ECF No. 31. Plaintiffs filed an opposition,
 ECF No. 36, and USC filed a reply, ECF No. 41.
 I.   Motion to Remand
        Plaintiffs do not challenge that this Court has subject matter jurisdiction over this dispute
 under CAFA. Instead, the primary basis for Plaintiffs’ motion is that this Court lacks equitable
 jurisdiction to hear Plaintiffs’ claims for restitution. As explained in the Ninth Circuit’s recent
 decision in Guzman v. Polaris Industries Inc.:
        In order to entertain a request for equitable relief, a district court must have
        equitable jurisdiction, which can only exist under federal common law if the
        plaintiff has no adequate legal remedy. . . .

        Equitable jurisdiction is distinct from subject matter jurisdiction, although both are
        required for a federal court to hear the merits of an equitable claim. Even when a
        court has subject matter jurisdiction, “[t]here remains the question of equitable
        jurisdiction” before “the District Court properly [can] reach the merits.”

 49 F.4th 1308, 1314 (9th Cir. 2022) (citations omitted) (alterations in original), cert. denied sub
 nom. Polaris Indus. Inc. v. Albright, No. 22-987, 2023 WL 3937623 (U.S. June 12, 2023); see
 also Schlesinger v. Councilman, 420 U.S. 738, 754 (1975) (“[T]he question of equitable
 jurisdiction, [is] a question concerned, not with whether the claim falls within the limited
 jurisdiction conferred on the federal courts, but with whether consistently with the principles
 governing equitable relief the court may exercise its remedial powers.”).
        As a preliminary matter, whether this Court has equitable jurisdiction has not yet been
 determined. Plaintiffs’ assert, in conclusory fashion, that “[i]t is beyond dispute that the Court
 lacks equitable jurisdiction over” Plaintiffs’ equitable claims.       MTR at 5.      But no such
 determination has yet been made. Rather, in response to USC’s motion to dismiss the original
 Complaint in Favell I, Plaintiffs voluntarily dismissed their equitable claims before they had
 briefed the issue. As a consequence, whether Plaintiffs lack an adequate remedy at law – the
 determination of which is critical to the application of Guzman (and Sonner v. Premier Nutrition
 Corp., 971 F.3d 834 (9th Cir. 2020) upon which it relied) – has not been decided. See Treinish v.
 iFit Inc., No. CV 22-4687-DMG (SKx), 2022 WL 5027083, at *4 (C.D. Cal. Oct. 3, 2022)
 (“Sonner . . . addresses a situation in which the plaintiff has not sufficiently alleged she lacks an
 adequate remedy at law. 971 F.3d 844. Nothing in that decision prevents a federal court from
 exercising jurisdiction over equitable claims under the UCL and CLRA with different factual and


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 legal allegations.”).
          Nor is it clear that Guzman even addresses the present situation. Indeed, several district
 courts applying Guzman in the context of a motion to remand have denied such motions, reasoning
 that the lack of equitable jurisdiction is not a basis for remand when subject matter jurisdiction is
 present. See Treinish v. iFit Inc., 2022 WL 5027083, at *4 (“Section 1447(c) does not provide an
 adequate legal justification to remand this case.”); Kim v. Walmart, Inc, No. 2:22-CV-08380-SB-
 PVC, 2023 WL 196919, at *2 (C.D. Cal. Jan. 13, 2023) (“Remand is inappropriate because
 diversity jurisdiction exists, and the Court’s authority to hear this case does not depend on its
 equitable powers.”); see also Hooks v. Dignity Health, No. 2:22-cv-07699-DSF (PDx), 2022 WL
 17968833, at *3 (C.D. Cal. Dec. 27, 2022) (dismissing equitable claims without prejudice but
 denying motion to remand). By contrast, the sole post-Guzman decision cited by Plaintiffs
 granting remand is readily distinguishable. In that case, the court had already determined that the
 plaintiffs had adequate legal remedies and dismissed their equitable claims; the remand issue
 presented itself only after the plaintiffs refiled in state court and the defendants again removed.
 See Clevenger v. Welch Foods Inc., No. 8:23-cv-00127-CJC-JDE, 2023 WL 2390630, at *1, *5
 n.4 (C.D. Cal. Mar. 7, 2023) (distinguishing the above-cited cases on the grounds that none “dealt
 with a procedural posture resembling the one currently before the Court – i.e., a motion to remand
 an equitable claim removed under CAFA that was previously dismissed without prejudice to
 refiling it in state court due to a lack of equitable jurisdiction. Instead, they dealt with motions to
 remand only an equitable claim while retaining non-equitable claims.”).3 On reply, Plaintiffs also
 rely heavily on Cates v. Allen, 149 U.S. 451, 460 (1893) and Twist v. Prairie Oil & Gas Co., 274
 U.S. 684, 689-90 (1927) for the proposition that where a district court lacks equitable jurisdiction
 over a claim, it must remand. But as 2U points out, those cases predate the merger of courts of
 law and equity.
          Plaintiffs’ remaining arguments show, at most, that this Court has discretion to remand
 Plaintiffs’ equitable claims. Even assuming those assertions are correct, the Court would decline


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       Plaintiffs claim that this case is procedurally similar to Clevenger, notwithstanding that no determination as to
 the adequacy of legal relief has yet been made. Plaintiffs argue that “requiring the Court to dismiss an action without
 prejudice as a prerequisite to remanding the plaintiffs’ second action would create a wildly impractical and nonsensical
 burden on the Court’s time, and that of the parties.” MTR Reply at 14. Be that as it may, Sonner by its terms only
 applies where there is no adequate remedy at law, and “this Court has no authority to go against Sonner’s directive
 out of fears of judicial inefficiency.” Treinish, 2022 WL 5027083, at *5.



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 to do so at this point. Plaintiffs argue that remand furthers the interests of federalism and comity,
 but that argument appears to presuppose that absent remand, Plaintiffs will be left with no forum
 in which to litigate their equitable claims. As discussed infra, that is not the case. Finally,
 Plaintiffs argue that the Court lacks Article III jurisdiction over Plaintiffs’ requests for injunctive
 relief, but the basis for that assertion is unexplained.
         Accordingly, the Court would DENY the motion to remand, as well as Plaintiffs’ request
 for costs and attorneys’ fees.
 II.   Motion to Stay
         USC moves to stay this case pending resolution of Plaintiffs’ CLRA claim in Favell I.
 USC argues that a stay is warranted because the filing of Favel II constitutes impermissible claim-
 splitting. The prohibition against claim-splitting establishes that “a party is ‘not at liberty to split
 up his demand, and prosecute it by piecemeal, or present only a portion of the grounds upon which
 special relief is sought, and leave the rest to be presented in a second suit, if the first
 fail.’” Bojorquez v. Abercrombie & Fitch, Co., 193 F. Supp. 3d 1117, 1123 (C.D. Cal. 2016)
 (quoting United States v. Haytian Republic, 154 U.S. 118, 125 (1894)). For the rule against claim-
 splitting to apply, the defendant must show that the parties to the two actions are the same (or in
 privity), and that the claims in the prior action derive from the same transaction or series. Id. at
 1123-25. Both requirements are easily met here; the parties are the same, and underlying factual
 allegations are the same. The only difference is the statutory basis for Plaintiffs’ causes of action.
         That Plaintiffs have engaged in claim-splitting, however, does not mean that a stay is
 warranted. “After weighing the equities of the case, the district court may exercise its discretion
 to dismiss a duplicative later-filed action, to stay that action pending resolution of the previously
 filed action, to enjoin the parties from proceeding with it, or to consolidate both actions.” Adams
 v. Cal. Dep’t of Health Servs., 487 F.3d 684, 688 (9th Cir. 2007) (emphasis added). Having found
 that it would be premature to remand Plaintiffs’ equitable claims to state court, the Court finds that
 consolidation of Favell I and Favell II would be most appropriate.
 III. Conclusion
         For the foregoing reasons, the Court DENIES Plaintiffs’ motion to remand and DENIES
 USC’s motion to stay. The Court will consolidate this action with Favell I.




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